                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



     JAMES G. CONNELL, III,

                   Plaintiff,

                    v.                                     Civil Action No. 21-0627 (CRC)

     THE UNITED STATES CENTRAL
     INTELLIGENCE AGENCY,

                   Defendant.


     DEFENDANT’S UNOPPOSED MOTIONS FOR LEAVE TO FILE STATEMENT OF
     MATERIAL FACTS NUNC PRO TUNC AND TO MODIFY BRIEFING SCHEDULE

          Defendant, the United States Central Intelligence Agency, by and through undersigned

counsel, moves pursuant to Federal Rule of Civil Procedure 6(b), for (a) leave to file Defendant’s

Statement of Material Facts nunc pro tunc; (b) a two-week extension of time until May 27, 2022,

for Plaintiff to review the filing, and supplement, and (c) an extension of time until June 10, 2022,

for Defendant to file its reply brief.

          As grounds for this motion, Defendant states as follows:

          1.     Plaintiff filed the Complaint in this action on January 20, 2022. ECF No. 1

(“Compl.”). The Complaint relates to nine (9) Freedom of Information Act (“FOIA”) requests

Plaintiff purportedly submitted in November 2021 to the Central Intelligence Agency. Compl. ¶

6.

          2.     On March 29, 2022, Defendant filed its Motion for Summary Judgement, but in

haste inadvertently omitted the filing the accompanying Statement of Material Facts. ECF Nos.

13, 14.
       3.        On April 28, 2022, Plaintiff filed his Memorandum in Opposition, and supporting

declarations and other documents. ECF Nos. 16-23.

       4.        The undersigned respectfully requests leave to late file its statement of material

facts, attached hereto as Exhibit 1.

       5.        In accordance with Local Civil Rule 7(m), undersigned counsel conferred with the

Plaintiff about the late filing and extensions via e-mail. Mr. Connell graciously agrees with the

relief sought. Having Defendant’s statement of material facts on the record will complete the

record and assist the Court with resolving Defendant’s motion for summary judgment.

       6.        This is Defendant’s second request for an enlargement of time relating to this

summary judgment briefing and first motion for leave to late file. Undersigned counsel apologizes

to the Court and Plaintiff for the oversight and the associated disruption to the briefing schedule.

Granting this motion and adopting the proposed extensions identified below will extend the

briefing period by a few weeks but should not affect any other Court deadlines. Neither party will

be prejudiced.

       7.        Defendant’s proposal is:

       (a)       the Court shall accept and make part of the record Defendant’s Statement of

Material Facts attached hereto as Exhibit 1;

       (b)       Plaintiff shall have the opportunity to file a supplemental opposition or brief

responding to the Statement of Facts by May 27, 2022;

       (c)       Defendant shall file its combined reply in support of its motion and opposition to

Plaintiff's cross-motion is due by June 10, 2022.

       7.        A proposed order is attached.

//

//


                                                    2
Dated: May 13, 2022         Respectfully submitted,

                            MATTHEW M. GRAVES
                            United States Attorney
                            D.C. Bar No. 481052

                            BRIAN P. HUDAK
                            Acting Chief, Civil Division

                      By:    /s/ T Anthony Quinn
                            T. ANTHONY QUINN
                            D.C. Bar No. 415213
                            Assistant United States Attorney
                            Civil Division
                            555 Fourth St., NW
                            Washington, D.C. 20530
                            (202) 252-7558
                            tony.quinn2@usdoj.gov

                            Counsel for Defendant




                               3
                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  JAMES G. CONNELL, III,

                  Plaintiff,

                  v.                                     Civil Action No. 21-0627 (CRC)

  THE UNITED STATES CENTRAL
  INTELLIGENCE AGENCY,

                  Defendants.


                                       [PROPOSED] ORDER

        The matter is before the Court upon the Defendant’s unopposed motion for (a) leave to file

its Statement of Material Facts nunc pro tunc; (b) a two-week extension of time for Plaintiff to

review the filing, and supplement, and (c) an extension of time until June 10, 2022, for Defendant

to file their reply brief and opposition to plaintiff’s cross-motion for summary judgment. Upon

consideration of the Defendant’s unopposed motion, the entire record herein, and for good cause

shown, it is hereby

        ORDERED, that the motion is GRANTED. It is further

        ORDERED, that the Defendant’s Statement of Material Facts is hereby made part of the

record and the Clerk shall separately file it in a separate entry on the docket. It is further

        ORDERED, that Plaintiff shall have the opportunity to file a supplemental opposition or

brief by May 27, 2022. It is further

        ORDERED, that Defendant shall file its combined reply in support of its motion and

opposition to Plaintiff's cross-motion is due by June 10, 2022.




                                                   4
SO ORDERED this __________ day of _______________, 2022.


                                      ______________________________
                                      CHRISTOPHER R. COOPER
                                      United States District Judge




                                  5
